Case 2:07-md-01873-KDE-MBN Document 14475 Filed 06/22/10 Page 1 of 3
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0 440 Ree D4/0H) ivi s

UNITED STATES DISTRICT COURT
for the
Middle District of Louisiana

Ernestine Saul et, al
Plainuff

Vv

Ki eRV Com Inc. et, al
Defendant

Civil Action No. 09-cv-210

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Summons in a Civil Action

To: (Defendant's name and address)

The United States of America
Through the Office of the US Attorney for the
Eastem District of Louisiana
James Letten, United States Attomey
500 Poydras St., Suites24t0" 6/0
New Orleans, LA 70130

-Baten-Reuge; A-70868>

A lawsuit has been filed against you.

Within 60 days after service of this summons on you (not counting the day you received it), you must serve

on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attomey, whose name and address are:

Justin | Woods, Gainsburgh, Benjamin, David, Maunier & Warshauer, L.L.C. 2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio

Name of clerk of court

Hoole! R. dogs

Deputy clerk's signature

Dae: April 20, 2009

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(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Ride 12(a)(3).)

®& AO 440 (Rev. 04/08) Civil Summons (Page 2)
Sc

Proof of Service

I declare under penalty of perjury that ! served the summons and complaint in this case on
by:

(1) personally delivering a copy of each to the individual at this place,

; or

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

;0r
(4) returning the summons unexecuted to the court clerk on ;0r
(S)other (specify
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:
Server's signature
Printed name and title

Serves's address
Case 2:07-md-01873-KDE-MBN Document 14475 Filed 06/22/10 Page 3 of 3

UNITED States PosTAL SERVICE
" First-Class Mail
i Postage & F,
2 uspa ees Paid

Permit No. G-10

* Sender: i
Please print your name, address, and ZIP+4 in this box « |

6 , Justin Woods
ainsburgh, Benjamin, David, M
eunier &
1100 Poydras Street, Suite 2800 Waheed
New Orleans, Louisiana 70163

Formaldehyde 09-3620 Ernestine Saul

a] [b)=sperere) (eave mae ie ey ert el Cole] -) Marat) Saepteht Col Pela) ae

@ Complete items 1, 2, and 3, Also complete
item 4 if Restricted Delivery Is desired. ~, DlAgent
@ Print your name and address on the reverse ——_ 0 Addressee

so that we can return the card to you. by (Printe ee C.D elive:
m Attach this card to the back of the mailpiece, — |{—~< i).
or on the front If space permits.

D. Is hies address different 1 a item 17 Oo Y¢ iS
1. Article Addressed to: if YES, enter delivery address below: “et

James Letten, U.S. Attorney
for the Eastern District of LA
500 Poydras Street, Suite B210
New Orleans, LA 70130

3. Service Type
C Certified Mail ©) Express Mail
CO Registered DO Return Receipt for Merchandise
C1 Insured Mail OC.0.D.

4. Restricted Delivery? (Extra Fee) ~ C1 Yes

2 ariceNumber sg 7008 1830 O004 Lua? 2324

PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540 ;
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